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           EXHIBIT A
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    From:             Joan peters
    To:               Andrew Brettler
    Cc:               "Robert “Bob” L. Raskopf"; Patricia M. Patino; Jake Camara; Joel Sichel; Kai Alblinger; Carlos A. Garcia Perez;
                      Gustavo D. Lage
    Subject:          Re: Request for Meet and Confer/ Doe v. Bonnell
    Date:             Wednesday, May 14, 2025 11:20:13 AM
    Attachments:      Stipulated Confidentiality Agreement and Protective Order (1).docx


   Andrew:
   As discussed in our meet and confer on May 12, attached is a draft of a proposed
   confidentiality agreement and protective order regarding discovery. This draft is marked
   Confidential, which means it is not to be made public or shared on social media by anyone
   including specifically your client. Please advise if you would like to move forward with a joint
   stipulated agreement - we are open to suggested edits.
   thanks,
   Joan




            On May 8, 2025, at 9:48 PM, Joan peters <petersjoan@bellsouth.net> wrote:

            Let’s speak at 1 pm EST.
            thanks.


                   On May 8, 2025, at 4:08 PM, Andrew Brettler
                   <abrettler@berkbrettler.com> wrote:

                   I can speak on Monday after 9:30 a.m. PDT.

                   Andrew B. Brettler | BERK BRETTLER LLP
                   9119 Sunset Blvd. | West Hollywood, CA 90069
                   O: +1.310.278.2111 | M: +1.917.620.2726



                         On May 8, 2025, at 10:14 AM, Joan peters
                         <petersjoan@bellsouth.net> wrote:

                         Dear Counsel:

                         We are requesting a meet and confer to discuss a
                         proposed stipulated confidentiality agreement and
                         protective order pertaining to the responses to the
                         parties’ discovery requests. We are available to discuss
                         tomorrow before 12:30 pm EST, or Monday flexible.
                         Please advise.
                         Thank you,
                             Joan
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                            Miami Division

  JANE DOE,                                                     Case No: 1:25-cv-20757-JB/Torres

         Plaintiff,

  vs.

  STEVEN K. BONNELL II,

         Defendant.

  __________________________________/



               [PROPOSED] STIPULATED CONFIDENTIALITY AGREEMENT AND
                               PROTECTIVE ORDER


         Pursuant to Federal Rule of Civil Procedure 26(c), and for good cause shown, the Court

  enters this Stipulated Confidentiality Agreement and Protective Order (“Order”) to limit the

  disclosure and use of confidential and sensitive information produced during discovery in this

  action. The nature of the claims involves the non-consensual dissemination of intimate images and

  related personal matters, requiring heightened protection of the parties’ and non-parties’ privacy.

  There is good cause to enter this Order to protect the parties and non-party witnesses from

  annoyance, embarrassment, oppression, harassment or retaliation due to the disclosure of

  confidential and sensitive information produced during discovery.

         WHEREAS, the Parties are engaged in pretrial discovery in the above-captioned litigation;

         WHEREAS, certain discovery, including but not limited to documents that are produced,

  responses to interrogatories, responses to requests for admissions, and deposition testimony, may

  contain confidential, private, or other sensitive information; and
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          WHEREAS, the disclosure of such confidential information could, among other things,

  violate the privacy interests of a Party or a Non-Party, and cause them humiliation, embarrassment

  or retaliation; and

          WHEREAS, the Parties wish to provide a mechanism for the exchange of confidential

  information in a manner that will protect its confidentiality and limit its dissemination; and

          WHEREAS, Rule 26(C) of the Federal Rules of Civil Procedure provides for the protection

  of confidential and sensitive information, including the issuance of protective orders limiting the

  disclosure of discovered information in appropriate circumstances and provide for the filing under

  seal of confidential information;

          NOW, THEREFORE, THIS ____ DAY OF ______, 2025, IT IS HEREBY STIPULATED

  AND AGREED, by and between the Parties, through their respective attorneys of record, and

  subject to the approval of the Court, as follows:

          1.      This Confidentiality Agreement shall govern all documents, things, and

  information produced or provided by the Parties, non-Parties, and their respective representatives

  in the above-captioned case that are designated “CONFIDENTIAL” pursuant to paragraph 2, and

  any copies, summaries, pleadings, transcripts, or other documents containing quotations or

  references thereto or information contained therein.

          2.      Without prejudice to the right of a Party to object to the production of the following

  information or of a Party to seek production, the information subject to the designation

  “CONFIDENTIAL” shall include the producing Party’s document, data, material, or testimony

  that contains private, sensitive or identifying information of the Plaintiff or any non-party,

  including but not limited to:

                        a) Intimate images or videos;

                        b) The name or identifying information of Plaintiff Jane Doe;

                        c) The name or identifying information of non-party witnesses who wish to

                           keep their identity private;

                        d) Psychological, medical or counseling records;
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                     e) Private information of an intimate or sexual nature that if disclosed to the

                         public could cause harassment, embarrassment or retaliation;

                     f) Other confidential information the disclosure of which is likely to cause

                         injury to the producing Party

  (collectively hereinafter referred to as “Confidential Information”). By designating a document,

  thing, material, testimony or other information derived therefrom as “CONFIDENTIAL” under the

  terms of this Order, the Party making the designation is certifying to the Court that there is a good

  faith basis both in law and in fact for the designation.

         3.      Each page of each document produced pursuant to discovery in this action shall

  bear a unique identifying number ("bate stamp"). It shall be the duty of the Party or non-Party

  who contends that materials are to be treated as “CONFIDENTIAL” to mark such information

  with the legend “CONFIDENTIAL.”

         4.      Each Party that designates information or items for protection under this Order must

  take care to limit any such designation to specific material that qualifies under the appropriate

  standards. Each Party must take care to designate for protection only those parts of material,

  documents, items, or oral or written communications that qualify as Confidential Information.

         5.      All persons receiving or given access to Confidential Information in accordance

  with the terms of this Order consent to the continuing jurisdiction of the Court for the purposes of

  enforcing this Order and remedying any violations of it.

         6.      Information designated as “CONFIDENTIAL” may be used only for purposes of

  prosecuting or defending this action, including mediation, arbitration, other settlement proceedings

  or negotiations or for appeal, and may not be disclosed to any person other than:

                     a) The Parties’ counsel and co-counsel, and the paralegals, legal assistants,

                         clerical, secretarial, and other staff employed or retained by the Parties’

                         counsel and co-counsel;

                     b) The Parties;

                     c) Court Reporters and videographers while in the performance of their official
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                    duties;

                 d) Independent expert(s) and/or consultant(s) retained by or associated with

                    any Party in order to assist that Party’s counsel in the conduct of this

                    litigation, but only to the extent that such disclosure is reasonably deemed

                    necessary by such counsel for the performance of such assistance, and that

                    such expert(s) or consultant(s) may retain Confidential Information only so

                    long as is necessary for the performance of such assistance and may use

                    such information only for providing assistance to counsel in this action; and

                    provided that, in any event, all copies of any information designated as

                    “CONFIDENTIAL” shall be returned by the expert or consultant to the

                    producing Party or destroyed not later than sixty (60) days after the

                    termination of this litigation, whether by settlement, judgment, or appeal;

                 e) This Court or a referee or any other Court-appointed person before whom

                    or which this litigation is pending, including any court personnel, and/or

                    any other person and/or entity as ordered by the Court;

                 f) The person(s) who authored the Confidential Information, or who received

                    such Confidential Information;


                 g) Witnesses and deponents who require, according to counsel’s reasonable

                    judgment, access to Confidential Information for the prosecution or defense

                    of this action; provided that nothing in this paragraph shall be interpreted to

                    prohibit the receiving Party from filing Confidential Information with the

                    Court, as set forth in paragraph 11 below, and subsequently communicating

                    with Court personnel regarding such Confidential Information;

                 h) Mediators, and/or any other neutrals, appointed to conduct any settlement

                    proceedings or negotiations between the Parties; and
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                     i) Such persons as the undersigned counsel shall consent to in writing before

                         the proposed disclosure.

         7.      Information designated as “CONFIDENTIAL” shall not be disclosed to the media,

  public or used for any extrajudicial purpose, and shall not be discussed or shared in any online

  broadcast, podcast, stream, post or direct message

         8.       Any copies of information designated as “CONFIDENTIAL” shall be

  conspicuously marked with an appropriate legend signifying its confidential status. Counsel and

  all persons to whom such information is disclosed shall take reasonable and appropriate

  precautions to avoid loss and/or inadvertent disclosure of such material.

         9.      Disclosure of Confidential Information other than in accordance with the terms of

  this Order may subject the disclosing person to such sanctions and remedies as the Court may

  deem appropriate, including without limitation, contempt, injunctive relief and damages.

         10.     Prior to the disclosure of any information designated as “CONFIDENTIAL” to any

  person identified in paragraphs 6(c), (d), (f), (g), (h) or (j) herein, such person shall be furnished

  with a copy of this Protective Order and shall be required to execute the certificate attached as

  Exhibit A hereto. Counsel for the Party disclosing Confidential Information shall maintain these

  written certifications, and they shall be available to opposing counsel for inspection and copying.

  In the event that disclosure is made to an undisclosed expert or consultant retained by that Party in

  connection with the litigation, the identity of the undisclosed expert is that Party attorney’s work

  product and need not be disclosed to opposing counsel even though the expert or consultant signs

  a written certification; provided, however, that the written certifications executed by undisclosed

  experts or consultants shall be made available to opposing counsel for inspection and copying at

  the earliest of (a) the date on which such expert or consultant has been disclosed or (b) within 60

  days after termination of this litigation, whether by settlement, judgment or appeal.

         11.     Insofar as anyone who is not a Party produces documents to one or more of the

  Parties, any Party can designate such documents as being “CONFIDENTIAL” within thirty (30)
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  days of that Party’s receipt of such documents.

         12.       In the event that any Confidential Information is used in any Court proceeding, the

  information shall not lose its confidential status through such use, and the Party using such

  information shall take all reasonable steps to maintain its confidentiality during such use. Any

  Party seeking to use documents, transcripts or other materials containing or reflecting Confidential

  Information shall file a motion or an application for an order sealing the specific record sought to

  be filed or lodged with the Court.

         13.       Any designation of deposition testimony as “CONFIDENTIAL” shall be made at

  the time such testimony is given or within thirty (30) days after the Parties’ and/or deponent’s

  receipt of a transcript of such proceedings, whichever is later. When the transcripts of testimony

  designated as being “CONFIDENTIAL” are prepared, the reporter shall place the following legend

  on the cover of the transcript: “Certain portions of this transcript contain Confidential

  Information.”

         14.       Nothing shall prevent disclosure beyond that required under this Order if the

  producing Party consents in writing to such disclosure, or if the Court, after notice to all affected

  Parties, orders such disclosure and that Order is not subject to an appellate stay within twenty (20)

  days after it is issued. Such disclosure shall not waive any rights or privileges of any Party granted

  by this Order.

         15.       This Protective Order shall be without prejudice to the right of any Party or non-

  Party to bring before this Court at any time the question of whether any particular information is

  or is not discoverable or relevant to any issue in this case, is subject to a valid claim of attorney-

  client privilege, work product protection, or any other privilege, or whether any particular

  document or information should or should not be designated as “CONFIDENTIAL” in accordance

  with the terms of this Protective Order. Neither any Party’s failure to object to any designation of

  information as being “CONFIDENTIAL,” nor anything contained in this Protective Order, shall

  be construed as a waiver of any rights and/or defenses by any Party, including a claim that such

  information is not confidential and/or protectable, or construed in any manner as an admission by
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  a Party that the documents and/or materials subsequently designated or labeled by another Party

  and/or non-Party as “CONFIDENTIAL” in fact contains Confidential Information.

         16.     Nothing contained in this Protective Order shall be construed to constitute a waiver

  of a Party’s right to claim, within thirty (30) days after its disclosure, that a document not

  designated as “CONFIDENTIAL” is in fact Confidential Information within the terms of this

  Protective Order, including documents produced by non-Parties. No Party shall be obligated to

  challenge the propriety of a designation of such information at the time such designation is made,

  and a failure to make such challenge shall not preclude a subsequent challenge to such designation.

         17.     If at any time a Party wishes for any reason to dispute a designation of discovery

  material as confidential, such Party shall notify the designating Party of such dispute in writing,

  specifying by exact document numbers the material in dispute and the precise nature of the dispute

  with regard to each such document or other material. If the Parties are unable amicably to resolve

  the dispute, the proponent of confidentiality may apply by motion to the Court for a ruling as to

  whether the designated material may, in accordance with Illinois law, properly be treated as

  confidential, provided such motion is made within thirty (30) days from the date on which the

  Parties, after good faith attempt, cannot resolve the dispute or such other time period as the Parties

  may agree. The designating Party shall have the burden of proof on such motion to establish the

  propriety of its confidentiality designation.

         18.     The Parties agree that the inadvertent production of information subject to the

  attorney-client privilege and/or work product doctrine (the "Privileged Information") shall not

  constitute a waiver of such privilege and/or protection. Promptly upon discovering that any

  Privileged Information has been produced, the producing Party shall notify the other Party in

  writing. Upon receipt of such notice, the receiving Party shall not review such documents further

  (except for the purposes of identifying them for their return to the disclosing Party and/or

  destruction) and shall either return all copies of the same to the producing Party or destroy them.

  No use shall be made of such documents during depositions or at trial, nor shall they be disclosed

  to anyone who was not given access to them prior to the request to return or destroy them. The
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   fact or circumstances of the inadvertent production may not be used by the returning Party to

   support a motion to compel the returned documents. Nothing contained herein is intended to,

   and/or does, constitute a waiver of any Party's right to challenge any designation of Privileged

   Information and/or move to compel the production of such documents.

          19.     In the event of a hearing or trial in this matter at which any Party or third party

   intends to present information or materials designated hereunder as Confidential Information,

   counsel for the Parties, and any third party, as applicable, will meet and confer to determine what

   safeguards are necessary to protect against the disclosure of the designated information or

   materials and shall attempt to determine the least intrusive and burdensome means of protecting

   such materials during the proceeding. Counsel for the Parties, and any third parties, as applicable,

   shall confer on appropriate procedures for protecting the confidentiality of any documents,

   information and transcripts used in the course of any court proceedings, and shall incorporate such

   procedures into the pre-trial order. In the event, the Parties are not able to determine what

   safeguards are necessary to protect against the disclosure of the designated information or

   materials during the proceedings, each Party reserves the right to bring the issue before the trial

   judge for further consideration. The Parties stipulate that any Confidential documents provided to

   the trial judge for review will be submitted under seal.

          20.     If at any time any Confidential Information protected by this Confidentiality

   Agreement or information produced in this litigation is subpoenaed from the receiving party by

   any court, administrative or legislative body, or is requested, via formal discovery request or

   otherwise, by any other person or entity purporting to have authority to require the production of

   such information, the party to whom the subpoena or other request is directed shall, within three

   (3) business days of receipt, give the designating party notice of said request. The Party receiving

   notice of a pending discovery request, subpoena, or other inquiry, shall have three (3) business

   days to, in writing, advise the party from whom the discovery was requested of its intent to protect

   the confidentiality of the information sought, or of its decision to allow it to be disclosed. The

   Party objecting to the disclosure of the Confidential Information shall take all steps it deems
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   necessary at its own expense, including incurring and paying its own attorney’s fees. It is

   acknowledged and agreed that any violation or threatened violation of this provision by any party

   will cause immediate and irreparable harm entitling the other party to obtain injunctive relief,

   including a temporary restraining order without notice pending a hearing on an application for

   preliminary injunction in addition to all other legal remedies available.

           21.     Nothing in this Protective Order shall be read to require a formal order of Court

   prior to use of designated information, so long as its use is consistent with the terms of this

   Protective Order.

           22.     Nothing in this Protective Order is intended to and/or does amend, relieve, and/or

   affect in any way any Party or non-Party’s pre-existing duties to maintain the confidentiality of

   information that is presently or hereafter in its possession.

           23.     This Protective Order shall not prevent any Party from applying to the Court for

   relief therefrom, or from applying to the Court for further or additional protective orders. Nothing

   herein shall prevent any Party from disclosing its own Confidential Information in any manner that

   it considers appropriate.

           24.     This order is enforceable by injunction and any violation or threatened violation of

   this order is enforceable by a request for injunction.

           25.     The terms of this Order shall survive and remain in effect after the termination of

   this litigation. The Parties shall take such measures as are necessary and appropriate to prevent

   the public disclosure of Confidential Information, through inadvertence or otherwise, after the

   conclusion of this litigation.

           26.     Except as otherwise may be agreed by the Parties, but not later than sixty (60) days

   after the termination of this litigation, whether by settlement, judgment or appeal, all copies of any

   information designated as “CONFIDENTIAL” shall be returned to the producing Party or

   destroyed, except for material reasonably considered by counsel to be their work product. Counsel

   shall certify in writing to opposing counsel that all such information has been returned to the

   producing Party or destroyed. Notwithstanding this obligation, counsel of record for each Party
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   may retain one copy of any designated materials and of any pleadings filed under seal herein, and

   one copy of each of transcripts containing designated material for their files.

           27.     The laws of Florida shall govern this Order without reference to the principles of

   conflict of laws. The Parties hereto agree to submit any dispute or claim in any way arising out of

   this Order to the Court presiding over the litigation if the litigation is still pending. If any portion

   of this agreement is deemed unenforceable, the unenforceable portion shall be severed and the

   remainder of the Protective Order shall remain in full force and effect. This Protective Order shall

   survive the termination of this action and the Court shall retain jurisdiction following termination

   of the instant litigation for the purpose of enforcing any provisions of this Order.

           Based upon the foregoing, the Parties’ Stipulated Confidentiality Agreement and

   Protective Order is hereby granted.

   DATED: ____________                             __________________________________
                                                   Judge_________________
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   EXHIBIT A

   ACKNOWLEDGMENT AND CONSENT TO JURISDICTION

                 I, ________________________, acknowledge that I have been given a copy of and

   have read the foregoing Confidentiality Agreement, and I agree to be bound by its terms. I

   acknowledge and agree that any documents received by me in connection with this matter that

   have been designated as confidential including, without limitation, those marked “Confidential”

   and any copies, excerpts, summaries, abstracts and electronic versions of such documents, shall

   not be disclosed to and/or discussed with anyone except as expressly provided in the

   Confidentiality Agreement. I consent to the jurisdiction of the ______________________ for the

   purposes of enforcing the Confidentiality Agreement and penalizing violations thereof.

                 My address is ______________________________________________________,

                 and my phone number is ________________________.



                 I declare under penalty of perjury that the foregoing is true and correct.

                 Executed this ______ day of ______________, 20, at ________________

   __________________.


                                                                       Signature
